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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


______________________________
                          :
UNITED STATES OF AMERICA, :
                          :
          Plaintiff,      :                                Criminal No. 10-00714 (JAP)
                          :
     v.                   :                                ORDER
                          :
MARK HOLZWANGER and       :
ANDREW MUHLSTOCK,         :
                          :
          Defendants.     :
                          :

       The October 21, 2010 Indictment in this criminal case charged Defendants Mark

Holzwanger, Andrew Muhlstock, Russell Speranza and Stephen Guthartz with three counts of

wire fraud in violation of 18 U.S.C. § 1343. Russell Speranza and Stephen Guthartz entered into

plea agreements with the Government on June 30, 2011, and July 27, 2011, respectively. A jury

trial was held as to the remaining Defendants, Mark Holzwanger and Andrew Muhlstock, from

August 8, 2011 to August 29, 2011. Defendants Holzwanger and Muhlstock moved for a

judgment of acquittal pursuant to Federal Rule of Criminal Procedure 29(c) on August 19, 2011

[docket entries no. 112, 114]. The Court reserved decision on this Motion. Trial Tr. 1487:12-22,

August 19, 2011. On August 29, 2011, the jury returned a verdict of guilty on two counts of

wire fraud and not-guilty on the third for Defendant Holzwanger [docket entry no. 132]. As to

Defendant Muhlstock, the jury was deadlocked [docket entry no. 133].    On September 14,

2011, Defendant Mark Holzwanger moved for a new trial pursuant to Federal Rule of Criminal

Procedure 33 [docket entry no. 140]. The Government opposed the Rule 29 and Rule 33

Motions [docket entry no. 141]. For the reasons set forth in the accompanying Opinion,
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        IT IS, on this 8th day of March, 2012,

        ORDERED that Defendants Holzwanger and Muhlstock’s joint Motion for a Judgment

of Acquittal under Rule 29 [docket entries no. 112, 114] is granted; and it is further

        ORDERED that Defendant Holzwanger’s conviction [docket entry no. 132] is vacated;

and it is further

        ORDERED that a Judgment of Acquittal is entered as to Defendants Holzwanger and

Muhlstock.



                                                              _/s/ Joel A. Pisano_______
                                                              JOEL A. PISANO
                                                              United States District Judge
